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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:10CR135
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
LEONEL DE JESUS                               )
DOMINGUEZ-GARCIA,                             )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 38). The government adopted the PSR (Filing

No. 37). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant objects to the lack of a downward adjustment for a minor role in the

offense under U.S.S.G. § 3B1.2(b) and states that he is entitled to the benefit of the safety

valve under U.S.S.G. § 2D1.1(b)(11). The Court notes that it appears the objections were

not submitted to the Probation Officer as required under ¶ 4 of the Order on Sentencing

Schedule. Nevertheless, the objections will be heard at sentencing, and the Defendant has

the burden with respect to both objections by a preponderance of the evidence.

       IT IS ORDERED:

       1.     The Defendant’s objections to the PSR (Filing No. 38) will be heard at

sentencing;

       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 7th day of September, 2010.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




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